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                                  LIQUIDATION ANALYSIS
                                 JAMES DOUGLAS BUTCHER

       Attached to this Exhibit is a chart showing a liquidation analysis.

         If the Debtor is converted to a chapter 7 case, the liquidation amount that may be available
to creditors will be minimal. The Debtor has an estimated amount of $2,492,473.30 in alleged
secured claims and approximately $3,856,831.01 in unsecured claims. The Debtor has minimal,
if any, non-exempt assets that are not collateral for debts or that are not solely managed community
property of his non-filing spouse. Under section 541(a)(2)(A) of the Bankruptcy Code, the
properties that are under the sole management and control of the spouse of the Debtor are not
property of his bankruptcy estate.


       In a liquidation, the Debtor would have the cost of an attorney and an accountant and other
professions to liquidate the assets.

       Debtor is an individual that conducts martial arts classes and consulting services for real
property management and operations. The Debtor also receives Social Security and VA disability.

        In a liquidation, the Debtor does not believe that there would be any assets available for
unsecured creditors. The non-exempt property is comprised mostly by cash and deposits of money
as of date of filing. In a liquidation that property would likely only cover part of the administrative
expenses.

       A liquidation will have a significant adverse effect on the Debtor. The analysis shows
that no amounts will remain for any unsecured claims in a liquidation.

       The Debtor believes that payments in a chapter 11 case will be significantly better for
unsecured creditors than a liquidation in a chapter 7 case.
